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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                     Case No. 94-81259-5

DARRELL ATKINS,

               Defendant.
                                                   /

     OPINION AND ORDER DECLINING TO ISSUE A MODIFICATION OF SENTENCE
                     PURSUANT TO 18 U.S.C. § 3582(C)(2)

         The matter is before the court on a determination for a possible reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2). The court appointed the Federal

Defender’s Office “to determine eligibility, confer with the Probation Department and the

U.S. Attorney’s Office, and gather the pertinent information to assist the court in

expeditiously resolving any pending or intended 18 U.S.C. § 3582(c) motions.” (1/26/09

Order at 1.) Although Defendant’s counsel initially intimated that Defendant was eligible

for a reduction, (8/4/09 Resp.), counsel has since filed a supplemental brief confirming

Defendant Atkins’s ineligibility for a modification due to his career offender status,

(8/17/09 Supp. Br.). The Sixth Circuit has held that “a district court may not grant a

motion for a reduction in sentence premised upon Amendment 706 if the defendant

seeking the reduction was originally sentenced as a career offender.” United States v.

Perdue, 572 F.3d 288, 292 (6th Cir. 2009) (citing United States v. Mateo, 560 F.3d 152,

155 (3d Cir. 2009); United States v. Forman, 553 F.3d 585, 589 (7th Cir. 2009); United

States v. Caraballo, 552 F.3d 6, 9 (1st Cir. 2008); United States v. Sharkey, 543 F.3d
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1236, 1239 (10th Cir. 2008)). The court has reviewed the August 17, 2009,

supplemental brief in conjunction with the earlier-filed briefs in this case and concludes

that, due to his status as a career offender, Defendant is ineligible for a modification.

Accordingly,

          IT IS ORDERED that the court DECLINES to modify Defendant’s sentence

pursuant to 18 U.S.C. § 3582(c), and the matter is deemed closed.


                                                             s/Robert H. Cleland
                                                            ROBERT H. CLELAND
                                                            UNITED STATES DISTRICT JUDGE

Dated: October 9, 2009


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 9, 2009, by electronic and/or ordinary mail.

                                                             s/Lisa Wagner
                                                            Case Manager and Deputy Clerk
                                                            (313) 234-5522




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